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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                             LAKE CHARLES DIVISION


CHARLES RICHARDSON                               CASE NO. 2:21-CV-03522

VERSUS                                           JUDGE JAMES D. CAIN, JR.

TANDEM DIABETES CARE INC                         MAGISTRATE JUDGE KAY

                                        JUDGMENT

       Pursuant to the Memorandum Ruling of this date,

       IT IS ORDERED, ADJUDGED, AND DECREED that Defendant’s Motion for

Dismissal Pursuant to 12(b)(6) (Doc. 15) is GRANTED in part and DISMISSED in part.

The Motion to Dismiss is granted to the extent that Plaintiff, Charles Richardson’s claims

for inadequate warning claim and a breach of express warranty are DISMISSED with

prejudice; otherwise, the Motion is DENIED.

       IT IS FURTHER ORDERED that Plaintiff amend his Petition no later than July

15, 2022, to cure the deficiencies found in the Court’s Memorandum Ruling. Failure to do

so will result in dismissal of the lawsuit.

       THUS DONE AND SIGNED in Chambers this 18th day of May, 2022.




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                               JAMES D. CAIN, JR.
                        UNITED STATES DISTRICT JUDGE
